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           EXHIBIT D
From:                Case 2:23-cv-02802-WBS-CKD
                             Diana Lopez        Document 1-4 Filed 12/04/23 Page 2 of 6
Sent:                         Wednesday, February 8, 2023 7:16 PM
To:                           Crista Cannariato; Anoosh Jorjorian
Cc:                           Gloria Partida
Subject:                      RE: outreach

Hello Everyone,

Thank you, Crista.

Gloria and I attended the same Zoom meeting recently. Hi, Anoosh. I’m so happy that Crista has connected with you, and I’m
looking forward to connecting with you further myself. I am thrilled that you can do Safe Zone training for us, Anoosh. I brought
up the training during a conversation with Scott and Crista on Monday. So, this is terrific that we’re already putting it in motion!
My heart is happy.

I absolutely support any LGBTQ+ programming, services, and collections. So, I’m excited to see discussion of a drag queen
storytime with teens!

Thanks again. Please let me know what support is needed from me.

Gratefully,

Diana


From: Crista Cannariato <                               >
Sent: Wednesday, February 8, 2023 4:05 PM
To: Anoosh Jorjorian <                         >
Cc: Diana Lopez <                         >; Gloria Partida <                                  >
Subject: RE: outreach

Anoosh, that’s wonderful about the Safe Zone training! Let us know your rates and we can start looking at dates. Is it a 3 hour
training?

I forgot to mention that I’ve copied our new County Librarian, Diana Lopez, on this message. Diana, Gloria and Anoosh do
wonderful work in the community and are great partners with the library.

To clarify—I have contacted UCD but have not heard anything back yet. I’ve attached the flyer for a program they did for us
back in 2019, to give you an idea. We worked with Monae and I don’t know the new director yet. February 25th is actually the
date of the community member’s program, so were hoping to provide some programs on or around that date to counteract the
potential negative messaging. If you have something in mind, please let me know.

Regarding a drag storytime with local teens, that sounds amazing. I agree that we would want to plan carefully and make sure
that the safety of the presenters is paramount. We can set up a meeting after we get this behind us.

I read your recent letter to the editor about the school board meeting and got a bit teary-eyed. These kids are so brave!

Best,

                                                                                                    Exhibit D, Page 1
Crista             Case 2:23-cv-02802-WBS-CKD Document 1-4 Filed 12/04/23 Page 3 of 6



From: Anoosh Jorjorian <                          >
Sent: Wednesday, February 8, 2023 2:15 PM
To: Crista Cannariato <                              >
Cc: Diana Lopez <                         >; Gloria Partida <                                    >
Subject: Fwd: outreach

Hello, Christa

Thank you for reaching out to us. The advantage to a group like this meeting at a public space like the library means they cannot
refuse anyone entry to their meeting. I, personally, would very much like to hear—and document—what they have to say. I
would not plan to disrupt their meeting or make any problems for the library.

Regarding drag story time, in my recent visits to our local school GSAs, I have discovered that local teens are keenly interested in
doing drag storytime for younger children. I think this could be a wonderful community event. Times being what they are, we
would also have to plan such an event carefully and with security for everyone involved in mind. I’d be happy to meet with your
staff if you’d like to discuss planning an event.

I do happen to be trained in Safe Zone training and have given the training tailored for the Davis Chamber. I can certainly do a
training for the library. I will need Gloria to remind me what our rate is for that training!

Lastly, do you know what the UCD LGBTQ+ Resource Center has in mind for your Feb. 25 event? We wouldn’t want to duplicate
efforts.

Thanks so much for reaching out to us, Crista! We appreciate your concern for the safety of our community.

Anoosh

---------- Forwarded message ---------
From: Crista Cannariato <                                     >
Date: Wed, Feb 8, 2023 at 1:25 PM
Subject: RE: outreach
To: Gloria Partida <                           >, Anoosh Jorjorian <                         >
Cc: Diana Lopez <                              >


Hi Gloria and Anoosh,

Unfortunately, we do not feel confident that we could legally defend refusing the reservation under our current meeting room
use policy. We will be looking at how we can strengthen that and our code of conduct in the future to better protect the
community against potential hate speech. I have found some good examples from other libraries.

I would love to do another Drag Queen story hour in the future, but it will take more time to plan—we could look at one for
Pride month this year or any month—let me know what you think.

We are planning to have LGBTQIA+ affirming bibliographies and a display in the library. I have also reached out to the UCD

                                                                                                     Exhibit D, Page 2
LGBTQIA+ ResourceCaseCenter  about providing a program/workshop
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                                                                              future.12/04/23
                                                                                      The date ofPage
                                                                                                 the program
                                                                                                       4 of 6is February 25, so
we don’t have a lot of lead time to prepare, but we would love to have some queer positive programming scheduled for around
the time of the program.

If you or anyone in your organization are interested in providing a program, or if you have a suggestion for a presenter, please
let me know.

On another note, the library is interested in Safe Zone, or Safe Space, training for our staff:
https://thesafezoneproject.com/about/. Is there anyone in your organization or that you know who is experienced in facilitating
this type of training who might be interested in providing this for us for a fee?

Best,
Crista


From: Gloria Partida <                            >
Sent: Monday, February 6, 2023 8:02 PM
To: Crista Cannariato <                                   >; Anoosh Jorjorian <                        >
Subject: Re: outreach

Hello Crista,
Thank you for bringing this to our attention. This is a deeply disturbing issue for us. I am looping in our
Rainbow families director. We have previously supported a drag queen story hour at the library. I am open to
finding a way to counter this event. Unfortunately we must allow free speech in public spaces. I don't know if
the library has specific rules against holding events that violate creating safe spaces for all?

Gloria Partida
Chair
(She/Her/Hers)
Davis Phoenix Coalition
Rising From The Ashes Of Hate
davisphoenixco.org




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On Monday, February 6, 2023 at 06:00:35 PM PST, Crista Cannariato <                                        > wrote:



Hi Gloria,



I hope this message finds you well. I wanted to reach out to you regarding a difficult issue the Library is facing. We have received a
request from a vocal anti-trans member of the community to use the meeting room at the Stephens-Davis Branch Library for an event.
Nothing in their description of the event (a program where people from around the county would read from their favorite children’s
books) states that the event would have anything to do with forwarding an anti-trans agenda and it appears to follow our meeting room
policy. But, as this person has been very public about their anti-trans stance on social media, we are concerned that they may attempt
to promote that agenda at their event. We do not feel we can refuse their request to use the room, as based on the information they
provided us, it adheres to our policy. But we are concerned about the negative impact of the event on the community (if it is indeed not
what they are stating it is) and the potential for LGBTQIA+ community members to feel like the library is no longer a safe place for
them.



We plan to provide book recommendations and lists of resources supporting and celebrating LGBTQIA+ history, people, and themes.
The Library regularly provides LGBTQIA+ events and supports community events like the Pride Festival during Pride month, and we
have partnered with community groups to host other queer-affirming events throughout the years, but we would also like to show
support and alliance with the transgender community by providing some programs at the Library around the time of the event this
person is planning. Would the Davis Phoenix Coalition be interested in presenting at the library sometime this month (apologies for the
late notice)? Years ago we had a training for staff from the Gender Health Center in Sacramento on how to provide inclusive service
for trans community members, which was very helpful but I don’t think they are doing that type of outreach anymore. And in 2019 the
UC Davis LGBTQIA Center did a presentation on LGBTQIA 101 for the public that was great.



Anyway, let me know your thoughts on this and if you have any suggestions for what else the Library might do to provide support.



Best,

Crista




Crista Cannariato (she/her/hers)
Library Regional Supervisor, West Yolo region

Yolo County Library

Mary L. Stephens Davis Branch

                | Davis, CA 95616

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A guest on the traditional, unceded Yocha Dehe Wintun Nation land. For more information, please visit: www.yochadehe.org.



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Anoosh Jorjorian
Founder, Inclusive Futures Consulting
Director, Yolo Rainbow Families (Davis Phoenix Coalition)




www.raiseinclusivekids.com
www.davisphoenixco.org/
www.anooshjorjorian.com

English . Español . Français . Wolof
pronouns / pronombres / prenoms: she / ella / elle and they / elle / iel



--
Anoosh Jorjorian (she/they)
Director, Yolo Rainbow Families
A project of the Davis Phoenix Coalition

davisphoenixco.org
             (mobile)




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